CASE 0:18-cv-03279-MJD-TNL Document 1-1 Filed 11/29/18 Page 1 of 15




               EXHIBIT A
      CASE 0:18-cv-03279-MJD-TNL Document 1-1 Filed 11/29/18 Page 2 of 15




 STATE OF MINNESOTA                                DISTRICT COURT

 COUNTY OF HENNEPIN                                FOURTH JUDICIAL DISTRICT

                                                   CASE TYPE: Civil

 Nicholas James Duchateau,                         Court File Number:

                  Plaintiff,

 V.                                                              SUMMONS


/First Advanta~ge Baakground Services Corp, ~

                  Defendant.



 THIS SUMMONS IS DIRECTED TO First Advantage Background Services Corp.

        1. YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The
 Plaintiff's Complaint against you is attached to this summons. Do not throw these papers
 away. They are official papers that affect your rights. You must respond to this lawsuit
 even though it may not yet be filed with the Court and there may be no court file number
 on this summons.
        2. YOU MUST REPLY WITHIN 20** DAYS TO PROTECT YOUR
 RIGHTS. You must give or mail to the person who signed this summons a written
 response called an Answer within 20** days of the date on which you received this
 Summons. You must send a copy of your Answer to the person who signed this summons
 located at:
         John H. Goolsby
         Goolsby Law Office, LLC
         475 Cleveland Ave. N, Suite 212
         Saint Paul, MN 55104.

        3. YOU MUST RESPOND TO EACH CLAIM. The Answer is your written
 response to the Plaintiff's Complaint. In your Answer you must state whether you agree
 or disagree with each paragraph of the Complaint. If you believe the Plaintiff should not
 be given everything asked for in the Complaint, you must say so in your Answer.




                                            EXHIBIT A                              PAGE 1 OF 14
                               FIRST ADVANTAGE'S NOTICE OF REMOVAL
                                   DUCHATEAU V. FIRST ADVANTAGE
   CASE 0:18-cv-03279-MJD-TNL Document 1-1 Filed 11/29/18 Page 3 of 15




        4. YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN
RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS
SUMMONS. If you do not Answer within 20** days, you will lose this case. You will
not get to tell your side of the story, and the Court may decide against you and award the
Plaintiff everything asked for in the complaint. If you do not want to contest the claims
stated in the complaint, you do not need to respond. A default judgment can then be
entered against you for the relief requested in the complaint.
       5. LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you
do not have a lawyer, the Court Administrator may have information about places where
you can get legal assistance. Even if you cannot get legal help, you must still provide a
written Answer to protect your rights or you may lose the case.
      6. ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be
ordered to participate in an alternative dispute resolution process under Rule 114 of the
Minnesota General Rules of Practice. You must still send your written response to the
Complaint even if you expect to use alternative means of resolving this dispute.



Dated:        10/29/18                           GOOLSBY LAW OFFICE, LLC

                                                 By:          /s/ John H. Goolsby
                                                 John H. Goolsby, #0320201
                                                 475 Cleveland Ave. N, Suite 212
                                                 Saint Paul, MN 55104
                                                 Telephone: (651) 646-0153
                                                 jgoolsby@goolsbylawoffice.com
                                                 Attorney for Plaintiff




                                          EXHIBIT A                                 PAGE 2 OF 14
                             FIRST ADVANTAGE'S NOTICE OF REMOVAL
                                 DUCHATEAU V. FIRST ADVANTAGE
     CASE 0:18-cv-03279-MJD-TNL Document 1-1 Filed 11/29/18 Page 4 of 15




STATE OF MINNESOTA                                DISTRICT COURT

COUNTY OF HENNEPIN                                FOURTH JUDICIAL DISTRICT

                                                  CASE TYPE: Civil

Nicholas James Duchateau,                         Court File Number:

                 Plaintiff,

~
►                                                         COMPLAINT WITH
                                                         JURY TRIAL DEMAND

First Advantage Background Services Corp,

                 Defendant.




                              PRELIMINARY STATEMENT

1.     This action for damages is based on Defendant's false reporting of a felony on

       Plaintiff's employment background check, and failures to follow reasonable

       procedures and to conduct reasonable investigations with respect to such

       information.



                                        PARTIES

2.     Plaintiff Nicholas James Duchateau is a natural person who resides in the city of

       Saint Paul, County of Ramsey, State of Minnesota, and is a"consumer" as that term

       is defined by 15 U.S.C. § 1681a(c).

3.     Defendant First Advantage Background Services Corp ("First Advantage") does

       business in Minnesota, is a"consumer reporting agency" as that term is defined by




                                           EXHIBIT A                            PAGE 3 OF 14
                              FIRST ADVANTAGE'S NOTICE OF REMOVAL
                                  DUCHATEAU V. FIRST ADVANTAGE
     CASE 0:18-cv-03279-MJD-TNL Document 1-1 Filed 11/29/18 Page 5 of 15




       15 U.S.C. § 1681a(f), and is a"business screening service" as that term is defined by

       Minn. Stat. § 332.70, subd. 1(a).



                              FACTUAL ALLEGATIONS

4.     In the summer of 2018, Plaintiff applied for a job as a special education teacher in

       Minneapolis Public Schools ("MPS"), to begin before the start of the 2018-2019

       school year.

5.     Plaintiff was offered the job, conditioned on the completion of a criminal

       background check by First Advantage.

6.     MPS instructed Plaintiff that new teacher orientation was on August 16-17, 2018,

       and that he was also to report for work with all staff on August 21.

7.     Based on the school district's conditional job offer, Plaintiff suspended his search

       for jobs elsewhere.

8.     However, in a letter dated July 24, 2018, MPS informed Plaintiff that First

       Advantage had reported that Plaintiff had been convicted of "Cause child 13-18 to

       view sex."

9.     Plaintiff has never been convicted of any such crime.

10.    First Advantage's report on Plaintiff was false.

11.    MPS provided Plaintiff with a copy of First Advantage's July 23, 2018, report on

       Plaintiff.




                                             0




                                          EXHIBIT A                                PAGE 4 OF 14
                             FIRST ADVANTAGE'S NOTICE OF REMOVAL
                                 DUCHATEAU V. FIRST ADVANTAGE
      CASE 0:18-cv-03279-MJD-TNL Document 1-1 Filed 11/29/18 Page 6 of 15




12.     First Advantage's report stated that "Nicholas James Duchateau" had been

        convicted in Wisconsin in 2016 of the felony of "CAUSE CHILD 13-18 TO

        VIEW SEX. ACTIVITY."

13.     First Advantage stated that the name on file for the Wisconsin criminal case was,

        "Nicholas James Duchateau."

14.     First Advantage's statement of the name on file in the Wisconsin criminal case

        was false.

15.     As shown in public records, the actual name on file in that criminal case is Nathan

        J Duchateau.

16.     Nathan J. Duchateau is a stranger to Plaintiff.

17.     First Advantage stated that it searched under the names, "Nicholas Duchateau"

        and "Nick Duchateau."

18.     First Advantage stated that the Wisconsin criminal record was "Full matched" to

        Plaintiff "by the following identifiers: Last Name, First Name, DOB."

19.     First Advantage's statement that the first and last names in the Wisconsin criminal

        record fully matched Plaintiff s was false.

20.     First Advantage did not notify Plaintiff that it was reporting public record

        information on Plaintiff to MPS.

21.     MPS informed Plaintiff that because of the Wisconsin criminal record in the First

        Advantage report, MPS was considering not hiring Plaintiff.




                                              3




                                           EXHIBIT A                               PAGE 5 OF 14
                              FIRST ADVANTAGE'S NOTICE OF REMOVAL
                                  DUCHATEAU V. FIRST ADVANTAGE
      CASE 0:18-cv-03279-MJD-TNL Document 1-1 Filed 11/29/18 Page 7 of 15




22.     Upon reading MPS's July 24 letter and First Advantage's report, Plaintiff was

        shocked, astonished, and severely and extremely emotionally distressed.

23.     On July 27, 2018, Plaintiff disputed the false criminal conviction to First

        Advantage by email.

24.     On August 13, 2018, Plaintiff again disputed the false criminal conviction to First

        Advantage, this time by telephone.

25.     First Advantage never responded to Plaintiff's disputes.

26.     First Advantage never corrected its report to MPS.

27.     First Advantage is on notice from prior cases of the inadequacy of its practices and

        procedures to reasonably ensure that it does not report criminal record information

        on the wrong person. Such cases include without limitation: Williams v. First

        Advantage, 238 F.Supp.3d 1333 (N.D. Fla. 2017) ("First Advantage cannot

        reasonably assert that this is the first occurrence."); Taylor v. First Advantage, 207

        F.Supp.3d 1095 (N.D. Cal. 2016); and Lang v. First Advantage, NO. 15-CV-2436

        (N.D. Ohio 2015).

28.     Those prior cases have been insufficient to spur First Advantage to adequately

        reform its practices and procedures.

29.     MPS informed Plaintiff that he would not be allowed to start on August 21 after

        all.

30.     Plaintiff spent time and money communicating with the Wisconsin Department of

        Justice.

                                               4




                                           EXHIBIT A                                  PAGE 6 OF 14
                              FIRST ADVANTAGE'S NOTICE OF REMOVAL
                                  DUCHATEAU V. FIRST ADVANTAGE
n         CASE 0:18-cv-03279-MJD-TNL Document 1-1 Filed 11/29/18 Page 8 of 15




    31.     Plaintiff submitted his fingerprints to the Wisconsin DoJ.

    32.     The Wisconsin DoJ ultimately provided Plaintiff with a notarized letter, addressed,

            "To Whom It May Concern," stating that based on a fingerprint comparison, the

            DoJ had confirmed that Nicholas James Duchateau is not the person identified

            with the criminal record in question.

    33.     Plaintiff spent additional time and money providing the information from the DoJ

            to MPS.

    34.     MPS was still hesitant to let Plaintiff begin work without confirmation from First

            Advantage that its report had been wrong and that Plaintiff s background actually

            was clean.

    35.     Eventually, MPS, based on the DoJ documentation, decided to bring Plaintiff on,

            notwithstanding that First Advantage never updated its report.

    36.     Plaintiff was delayed from starting his job for MPS until August 24, 2018.

    37.     Because of First Advantage's false report, Plaintiff lost wages for the days he

            missed.

    38.     Because of First Advantage's false report, Plaintiff was not able to receive

            employment benefits as soon as he should have.

    39.     Because of First Advantage's false report, Plaintiff had to pay out-of-pocket for

            emergency dental work that would otherwise have been covered by employer-

            provided insurance.




                                                    5




                                               EXHIBIT A                                 PAGE 7 OF 14
                                  FIRST ADVANTAGE'S NOTICE OF REMOVAL
                                      DUCHATEAU V. FIRST ADVANTAGE
      CASE 0:18-cv-03279-MJD-TNL Document 1-1 Filed 11/29/18 Page 9 of 15




40.     Because of First Advantage's false report, Plaintiff's teaching job was made more

        difficult, because he missed new teacher orientation and several days of work in

        preparation for the start of the school year.

41.     Plaintiff remains distressed that any time he might be subject to a criminal

        background check in the future — for a promotion, for a job with another employer,

        for a volunteer opportunity, or for any other reason — First Advantage might again

        report false information on him.

42.     As a result of Defendants' actions and omissions, Plaintiff has suffered actual

        damages, including without limitation loss of income, out-of-pocket expenses,

        emotional distress, injury to reputation, and inability to be in place at his job in

        time for new teacher orientation and full preparation for the start of the school

        year.

43.     Plaintiff has suffered an injury in fact that is traceable to Defendant's conduct and

        that is likely to be redressed by a favorable decision in this matter.

44.     At all times pertinent hereto, Defendant acted by and through its agents, servants

        and/or employees who were acting within the course and scope of their agency or

        employment, and under the direct supervision and control of Defendant.



                                      TRIAL BY JURY

45.     Plaintiff is entitled to and hereby requests a trial by jury.




                                                C:




                                            EXHIBIT A                                PAGE 8 OF 14
                               FIRST ADVANTAGE'S NOTICE OF REMOVAL
                                   DUCHATEAU V. FIRST ADVANTAGE
  CASE 0:18-cv-03279-MJD-TNL Document 1-1 Filed 11/29/18 Page 10 of 15




                                 CAUSES OF ACTION

                                COUNTI
            VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                           15 U.S.C. § 1681e(b)

46.   Plaintiff incorporates by reference all preceding paragraphs as though fully stated

      herein.

47.   Defendant First Advantage willfully andlor negligently violated 15 U.S.C. §

      1681 e(b) by failing to follow reasonable procedures to assure the maximum

      possible accuracy of Plaintiff's consumer reports.

48.   As a result of First Advantage's violations of § 1681 e(b), Plaintiff has suffered

      actual damages, including without limitation loss of income, out-of-pocket

      expenses, emotional distress, injury to reputation, and inability to be in place at his

      job in time for new teacher orientation and full preparation for the start of the

      school year.

49.   Plaintiff is therefore entitled to recover actual damages pursuant to 15 U.S.C. §§

      1681 n and 1681 o.

50.   First Advantage's actions and omissions were willful, rendering it liable for

      punitive damages and/or statutory damages pursuant to 15 U.S.C. § 1681n.

51.   First Advantage is liable for Plaintiff's costs and attorney's fees, pursuant to 15

      U.S.C. §§ 1681n and 1681o.




                                             7




                                         EXHIBIT A                                  PAGE 9 OF 14
                            FIRST ADVANTAGE'S NOTICE OF REMOVAL
                                DUCHATEAU V. FIRST ADVANTAGE
  CASE 0:18-cv-03279-MJD-TNL Document 1-1 Filed 11/29/18 Page 11 of 15




                              COUNT II
            VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                           15 U.S.C. § 1681k

52.   Plaintiff incorporates by reference all preceding paragraphs as though fully stated

      herein.

53.   Defendant willfully and/or negligently violated 15 U.S.C. § 1681k by failing to

      either: provide notice to Plaintiff at the time that it was reporting public

      information on him to MPS; or maintain strict procedures to insure that the

      information it reported on Plaintiff was complete and up to date.

54.   As a result of Defendant's violations of § 1681k, Plaintiff has suffered actual

      damages, including without limitation loss of income, out-of-pocket expenses,

      emotional distress, injury to reputation, and inability to be in place at his job in

      time for new teacher orientation and full preparation for the start of the school

      year.at the start of the school year.

55.   Plaintiff is therefore entitled to recover actual damages pursuant to 15 U.S.C. §§

      1681 n and 1681 o.

56.   Defendant's actions and omissions were willful, rendering it liable for punitive

      damages and/or statutory damages pursuant to 15 U.S.C. § 1681n.

57.   First Advantage is liable for Plaintiff's costs and attorney's fees, pursuant to 15

      U.S.C. §§ 1681n and 1681o.




                                              [:




                                          EXHIBIT A                              PAGE 10 OF 14
                             FIRST ADVANTAGE'S NOTICE OF REMOVAL
                                 DUCHATEAU V. FIRST ADVANTAGE
  CASE 0:18-cv-03279-MJD-TNL Document 1-1 Filed 11/29/18 Page 12 of 15




                                COUNT III
              VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                              15 U.S.C. § 1681i

58.   Plaintiff incorporates by reference all preceding paragraphs as though fully stated

      herein.

59.   Defendant willfully and/or negligently violated 15 U.S.C. § 1681i in multiple ways

      including without limitation by failing to conduct a reasonable reinvestigation of

      Plaintiff's dispute(s) and by failing thereafter to appropriately delete or modify

      information.

60.   As a result of First Advantage's violations of § 1681 i, Plaintiff has suffered actual

      damages, including without limitation loss of income, out-of-pocket expenses,

      emotional distress, injury to reputation, and inability to be in place at his job in

      time for new teacher orientation and full preparation for the start of the school

      year.

61.   Plaintiff is therefore entitled to recover actual damages pursuant to 15 U.S.C. §§

      1681 n and 1681 o.

62.   First Advantage's actions and omissions were willful, rendering it liable for

      punitive damages and/or statutory damages pursuant to 15 U.S.C. § 1681n.

63.   First Advantage is liable for Plaintiff's costs and attorney's fees, pursuant to 15

      U.S.C. §§ 1681n and 1681o.




                                            0




                                         EXHIBIT A                                 PAGE 11 OF 14
                            FIRST ADVANTAGE'S NOTICE OF REMOVAL
                                DUCHATEAU V. FIRST ADVANTAGE
  CASE 0:18-cv-03279-MJD-TNL Document 1-1 Filed 11/29/18 Page 13 of 15




                                  COUNT IV
                       VIOLATIONS OF MINN. STAT. § 332.70

64.    Plaintiff incorporates by reference all preceding paragraphs as though fully stated

       herein.

65.    Defendant violated Minn. Stat. § 332.70 in multiple ways including without

       limitation by disseminating a false criminal record on Plaintiff, failing to

       reasonably investigate Plaintiff's dispute(s), and failing to correct the record.

66.    As a result of First Advantage's violations of § 332.70, Plaintiff has suffered actual

       damages, including without limitation loss of income, out-of-pocket expenses,

       emotional distress, injury to reputation, and inability to be in place at his job in

       time for new teacher orientation and full preparation for the start of the school

       year. ~

67.    Plaintiff is therefore entitled to recover the greater of statutory damages or actual

       damages pursuant to Minn. Stat. § 332.70, subd. 5(a).

68.    First Advantage is liable for Plaintiff's costs and attorney's fees, pursuant to Minn.

       Stat. § 332.70, subd. 5(a).




                                      WHEREFORE

Plaintiff prays that judgment be entered against Defendant for:

        a.) Plaintiff's actual damages;

        b.) Punitive and/or statutory damages pursuant to 15 U.S.C. § 1681n;


                                             10




                                          EXHIBIT A                                  PAGE 12 OF 14
                             FIRST ADVANTAGE'S NOTICE OF REMOVAL
                                 DUCHATEAU V. FIRST ADVANTAGE
  CASE 0:18-cv-03279-MJD-TNL Document 1-1 Filed 11/29/18 Page 14 of 15




         c.) Statutory damages pursuant to Minn. Stat. § 332.70, subd. 5(a);

         d.) Reasonable attorney's fees and costs pursuant to 15 U.S.C. §§ 1681n and/or

            1681 o;

         e.) Reasonable attorney's fees and costs pursuant to Minn. Stat. § 332.70, subd.

            5(a);

         f.) Such other and further relief as may be just and proper.




Dated:         10/29/18                            GOOLSBY LAW OFFICE, LLC

                                                   By:          /s/ John H. Goolsb,
                                                   John H. Goolsby, #0320201
                                                   475 Cleveland Ave. N, Suite 212
                                                   Saint Paul, MN 55104
                                                   Telephone: (651) 646-0153
                                                   jgoolsby@goolsbylawoffice.com
                                                   Attorney for Plaintiff




                                              11




                                           EXHIBIT A                                  PAGE 13 OF 14
                              FIRST ADVANTAGE'S NOTICE OF REMOVAL
                                  DUCHATEAU V. FIRST ADVANTAGE
                                ~
  CASE 0:18-cv-03279-MJD-TNL Document 1-1 Filed 11/29/18 Page 15 of 15




                                 ACKNOWLEDGEMENT

         Plaintiff, by his undersigned counsel, acknowledges that sanctions may be imposed

under Minn. Stat. § 549.211.


Dated:          10/29/18                          GOOLSBY LAW OFFICE, LLC

                                                  By:          /s/ John H. Goolsby
                                                  John H. Goolsby, #0320201
                                                  475 Cleveland Ave. N, Suite 212
                                                  Saint Paul, MN 55104
                                                  Telephone: (651) 646-0153
                                                  jgoolsby@goolsbylawoffice.com
                                                  Attorney for Plaintiff




                                             12




                                            EXHIBIT A                            PAGE 14 OF 14
                               FIRST ADVANTAGE'S NOTICE OF REMOVAL
                                   DUCHATEAU V. FIRST ADVANTAGE
